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           EXHIBIT 1
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                              CITY OF HOUSTON
                                   lt-.TER OFFICE CORRF,SPOl'\OENCE




TO:    Art Acevedo                                     FROM:     T. D. Pham, Sr. Police Officer
       Chief of Police                                           Westside Division

                                                       DATE:      January 14, 2021


                                                       suOJtcr: Resignation



I respectfully tender my resignation from the Houston Police Department effective the close of
business on January 14, 2021.




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                             Approved                     e?J
                             Art Acevedo                        I'        1/
                             Chief of Poli!:e                         /

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